                 Case 2:20-cv-02675-PBT Document 14-1 Filed 02/19/21 Page 1 of 1




From:                major tillery <majorgtillery@gmail.com>
Sent:                Friday, February 19, 2021 11:05 AM
To:                  PAED Documents
Cc:                  samuel.ritterman@phila.gov; major tillery
Subject:             Tillery v Eason 20-2675 Motion to Enlarge Time for Reply
Attachments:         TilleryvEason20-2675Motion.pdf



CAUTION - EXTERNAL:


Attached is the Motion for Enlargement of Time For Reply in Tillery v Eason, submitted for filing by Major G. Tillery
AM9786, SCI Chester, 500 E. Fourth St, Chester, PA.
My email address for filing is: majorgtillery@gmail.com
Thank you.
 CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
 attachments or clicking on links.




                                                             1
